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                                                                                            Michele K. York, PhD, ABPP-CN
                                                                                         Board Certified Clinical Neuropsychologist
                                                                                                                Associate Professor
                                                                                                     Department of Neurology


                     CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION
Patient Name:                 Robert Brockman
Date of Birth (Age):                      (78 yr.)
Date(s) of Evaluation:        12/03/2019
Evaluation Location:          BCM Medical Center, McNair Campus, 9th Floor
Referred by:                  James Pool, MD
Referral Question:            Independent Neuropsychological Examination

BACKGROUND AND REFERRAL INFORMATION
Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male with a two to three-year history of short-
term memory loss. The neuropsychological evaluation of his current cognitive, behavioral, and emotional
functioning was conducted by request by Kathy Keneally, Partner, Jones Day (New York). The following
information was obtained during an interview with Mr. Brockman and his wife, his previous clinical
neuropsychological evaluation conducted on 03/01/2019 and limited review of medical records.

Declarations: A forensic evaluation differs from a clinical evaluation in that there is no traditional doctor-patient
relationship between the psychologist and the person being evaluated. The purpose of the evaluation is to assist
Ms. Keneally in defense for Mr. Brockman’s legal tax case; therefore, establishing a treatment relationship would
create a potential conflict between the psychologist’s role as an objective evaluator versus an advocate for the
patient. Consequently, it is important that a retained expert avoid the role of treatment provider. This standard
is mandate by the laws of the State of Texas (Texas Administrative code) as well as the Code of Ethics of the
American Psychological Association (2010), and it represents the official position of the National Academy of
Neuropsychology (Bush, 2005).

Dr. York was retained for a neuropsychological evaluation by Kathy Keneally of Jones Day. As explained above,
she is excluded from providing any direct treatment to Mr. Brockman. Consequently, Dr. York’s role was
necessarily restricted to that of a forensic consultant rather than a treating doctor in this context. Mr. Brockman
was informed of these conditions and consented to the evaluation and to his ability to understand these
limitations.

Opinions reached in this report are based on direct interview and results of my neuropsychological evaluation and
a review of his provided medical records to clarify the timeline of her medical procedures and hospitalizations.
These opinions are based on current neuropsychological assessment techniques and research. Opinions are based
upon reasonable neuropsychological probability and are subject to modification based on provision of additional
information. The data from this evaluation is contained in Dr. York’s confidential files.

Previous Neuropsychological Assessment: Mr. Brockman underwent a clinical neuropsychological evaluation
with Dr. York on 03/01/2019. His general intellectual functioning (WAIS-IV FSIQ=87) fell within the low average
range, which was a decline from his estimated premorbid intellectual functioning in the above average range. His
MoCA was 19/30 (total), 6/6 (orientation), and 2/5 (short-term recall), which was significantly below expectation.
Mr. Brockman demonstrated borderline impaired to deficient performances on measures of sustained
attention/concentration, learning and recall of prose material and a word list, learning and recall of visual material,
semantic fluency, executive functions (set shifting, inhibition, working memory, and problem solving), and
visuoconstruction. Praxis was impaired for intransitive praxis tasks. These impaired performances were found


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Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
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within the low average to average ranges on measures of basic attention, fund of information, verbal and visual
abstract reasoning, verbal fluency and naming, This pattern of neuropsychological performance indicated a
dementia of mild to moderate severity characterized by deficits in the areas of visuospatial functioning, verbal
and nonverbal episodic memory, and executive functioning, with mild functional declines. Self-report of
depression was within normal limits (GDS=8). Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 9/31.
The NPI-Q (severity=8; distress=11) indicated problems with agitation, anxiety, apathy, irritability, nighttime
behaviors, changes in appetite, and depression for an overall minimal level of familial distress, with the exception
of his depression and agitation which produced moderate familial distress. He demonstrated movements that
were consistent with a parkinsonism disorder. These abnormal movements taken together with his current
diagnosis of dementia, and REM Behavior Disorder, his pattern of cognitive impairments was reported as
consistent with Dementia with Lewy Bodies (DLB).

Current Concerns and General Condition: Mr. Brockman and his spouse participated in the clinical interview. Mr.
Brockman reported that his balance has declined over the past year. He has been using a balance board at the
Houstonian but is not making any progress. He denied any falls.

On direct inquiry, he reported that his tax issues are about a small company that he sold to a family trust in 1981.
He noted that the government is “mad at him” but “they don’t say why,” and they want to “confiscate the trust.”
He said the government is information gathering and talking to people he used to work with. He is concerned
that the company will be “ruined” and this will affect the people who work there. He noted that he is starting to
think about who will run the company. He reported that he thinks he can continue to be the chairman.

Mrs. Brockman described that her husband’s cognition fluctuates on a daily basis from minute to minute. She
described that he has “blank times” that he appears more confused. His wife noted that he was having difficulties
at work and she had to help him type all of his employee performance reviews. She reported that he has increased
initiation problems. He reported that he does not go into the office as much as he did in March 2019. He noted
that it takes him longer to process information at work. His wife described that he sits at work for many, but he
does not accomplish his tasks described. His short-term memory has continued to decline, and he is repeating
himself more often. He is unable to recall details from his daily activities even later in the day. His procedural
memory has also declined as he has forgotten how to tie a tie or to use a remote control for their television. She
noted that he does not recall the code to unlock his telephone. He has difficulties completing tasks. His wife drives
him to the office. She noted that he has declines in his spelling ability particularly while typing. He is unable to
multi-task.

Emotional Functioning: Mr. Brockman reported that he began taking Wellbutrin which has improved his mood,
but he continues to feel “slightly depressed.” He noted that his diagnosis brings him “more down than before.”
He noted that he has realized that “all of sudden I am old.” He denied heightened general anxiety, personality or
behavioral changes, suicidal ideation, and auditory hallucinations. Sleep was described as adequate but he is
harder to wake up. He is more violently acting out his dreams and has been kicking. He takes trazadone to aid
his sleep. He has decreased appetite and has lost 20lbs over the past several months. His wife reported that he
began to act out his dreams at least three years ago. He reported that he has floaters in his visual fields. He
continued to deny visual hallucinations. It is noted that he had a previous visual illusion described below and a
visual hallucination of a bug on the testing room floor that was not present to either the examiner or his wife
during his evaluation in March 2019.




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Previous Cognitive Complaints: Mr. Brockman reported declines in his short-term memory over the past 2 to 3
years. He and his wife reported that he is repeating himself, losing possessions, losing his train of thought and is
more tangential. He forgets names of new individual and of familiar locations. He also finds it more difficult to
complete tasks. His wife noted that he is clumsy getting out of the car and has hit curbs while driving and parking.
He has increased difficulties with following directions. His wife noted spelling changes and mild stuttering in his
speech. His speech is slowed and he has slowed response latencies. His decision making is also slowed, and he
has difficulties multi-tasking.

Medical History: Medical history is remarkable for hypothyroidism, atrial fibrillation, bladder cancer with
recurrence, hypercholesteremia, glaucoma (mild), erectile dysfunction, tremor, micrographia, and back problems.
He has plantar fasciitis, which reduces his exercise ability. He reported that he was hospitalized for a prostate
infection and pericarditis four years ago. He reported an episode of vision changes in which he saw a bar of color
on a spectrum that was moving. He noted he had this visual illusion for 20 minutes and then it went away. He
was told that he might have had a visual headache. He began taking levodopa in February 2019. His wife noted
a mild motor improvement when he first started on the medication, but when the medication was increased, he
had increasing clumsiness. Surgical history is notable for tonsillectomy, cataract surgery, and excision of a
melanoma. He reported that when he was in the sixth grade he was hit on the top of the head with a hammer
and may have suffered a concussion. He did not lose consciousness. Familial medical history is unremarkable for
movement disorders or dementia. Psychiatric history is notable for depression. Mr. Brockman denied current
use of tobacco or illicit drugs or a remote history of substance misuse/abuse. He quit drinking alcohol two to
three years ago secondary to his atrial fibrillation. He denied a history of seizures, TIA/stroke, or migraines.

Medications: Wellbutrin 100mg tid, trazodone 50mg at night, Synthyroid .75mg, Eliquis 2.5mg bid, aspirin,
carbidopa/levodopa25/100mg 2 tablets tid, stool softener, Exelon 2 patches. He noted that he also takes a
regimen of vitamins and supplements.

Social History: Mr. Brockman has been married for 50 years, and they have one son. He currently lives with his
spouse in their private residence. He earned a BA in Business and attended graduate school for one year in
Marketing at The University of Florida. He reported that he was a good student. He is Chairman and CEO of
Reynolds and Reynolds Company.

REVIEW OF LIMITED MEDICAL RECORDS
Dr. Joseph Jankovic Evaluation: Mr. Brockman was evaluated by Dr. Joseph Jankovic on March 13, 2019 for his
movement disorder. He was diagnosed with postural instability gait disorder subtype (PIGD) of parkinsonism. Dr.
Jankovic noted that because Mr. Brockman denied hallucinations and cognitive fluctuations that he does not meet
criteria for DLB; however, he acknowledged that he meets criteria for dementia. Mr. Brockman noted that he was
worse physically and mentally despite taking levodopa, with a “zombie-like effect” as described by his wife.

Dr. Melissa Yu Evaluation: Mr. Brockman was evaluated by Dr. Melissa Yu on March 20, 2019 for his memory loss.
Memory loss was dated to November 2017 in a medical chart note. Dr. Yu medical note stated that a DATSCAN
was performed showing significant loss of dopaminergic signal, and he was started on Sinemet and the Exelon
patch on 3/13/2019. Anosmia was reported for 10 years. Memory, word finding, and slowed processing speed
were reported by his wife and son. His son noted that his father’s cognitive ability fluctuates, with episodes of
“blankness” associated with less interaction alternating with improved cognition. His son also noted cognitive
fluctuations in his father’s decision making abilities with good and bad days. It was noted that his son has him


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practice clock drawing to test his functioning. Dr. Yu’s differential diagnoses included Dementia with Lewy Bodies
or Parkinson’s Disease Dementia. It was noted that the time course and fluctuations in cognition were more
suggestive of DLB.

BEHAVIORAL OBSERVATIONS:          Mr. Brockman was tested during a single session as an outpatient. He arrived on
time and was accompanied by his spouse who participated in the clinical interview. General appearance was neat
and clean. The patient exhibited slowed motor behavior and gait and a mild tremor which was notable on
drawings but did not interfere with his performances. He evidenced slowed response latencies. His mood was
pleasant, but his affect was flat. Eye movements were normal. Vision (with corrective lenses) and hearing were
adequate for the testing session. Conversational speech was coherent but was tangential in conversational
speech. There was no evidence of paraphasias. His cognition tended to fluctuate throughout the testing session.
He appeared to be confused at times even in the middle of tasks that he originally was completing accurately. He
showed mildly decreased ability to follow directions, and he occasionally needed repetition of directions and lost
place during set task. He exhibited cooperative test-taking behavior. His attitude towards the examiner was
appropriate and friendly. He tended to minimize his cognitive impairments. He passed several embedded and
stand-alone measures of performance validity; therefore, the following results are thought to be an accurate
estimation of his current cognitive abilities.

MEASURES ADMINISTERED
Montréal Cognitive Assessment (MoCA); Caregiver Neuropsychiatric Inventory (NPI-Q); Clock Drawing Test;
Controlled Oral Word Association Test (COWAT version: FAS); General Anxiety Disorder 7-item Scale; Geriatric
Depression Scale; Hopkins Verbal Learning Test-Revised (HVLT-R); Neuropsychological Assessment Battery (NAB
subtests: Daily Living Memory-Delayed, Daily Living Memory-Immediate, Daily Living Memory-Recognition,
Naming, Numbers and Letters, and Visual Discrimination); Praxis Examination; Rey Complex Figure Test-Meyers
Version; Semantic Verbal Fluency Test; Stroop Color-Word Interference Test (Stroop subtests: Color, Color-Word,
and Word); Trail Making Test (TMT subtest: Trails A); Verbal Series Attention Test (VSAT); Wechsler Adult
Intelligence Scale-IV (WAIS-IV subtests: Arithmetic, Coding, Digit Span, Information, Similarities, and Visual
Puzzles); Wechsler Memory Scale-4th Edition (WMS-IV subtests: Logical Memory II-Older Adult, Logical Memory
I-Older Adult, Logical Memory Recognition-Older Adult, Visual Reproduction I, Visual Reproduction II, and Visual
Reproduction Recognition); Wide Range Achievement Test (WRAT-4 subtest: Math Computation); Wisconsin Card
Sorting Test (WCST); Instrumental Activities of Daily Living Scale (IADLS); Lawton and Brody Physical Self-
Maintenance Scale (PSMS). Clinical Interview with patient and his spouse.

Mr. Brockman did not complete the Trail Making Test (TMT subtest: Trails B) measure as he was unable to
comprehend task instructions and maintain task set independently. Informant questionnaires were completed
by the patient's spouse.

NEUROPSYCHOLOGICAL FINDINGS
The following clinical descriptors identify performance with the range of Standard Scores (average=100, standard deviation=15) indicated in parentheses:
Very Superior (>130), Superior (120-129), High Average (110-119), Average, (90-109), Low Average (80-89), Borderline (70-79), and Deficient (<69). For
diagnostic purposes, a cognitive deficit is considered a performance score that is >1.5 standard deviations away from the mean in the direction of poor
performance compared to the reference group for that measure (i.e., Z-score) based on peers of similar age, gender, and education background as
appropriate. This criterion is equivalent to a Standard Score <78, T-score <35, or a Scaled Score of <5).


Mental Status: Evaluation of Mr. Brockman's general mental status on the MoCA revealed a score of 19/30, which
is moderately below expectation. He was fully oriented (6/6). He demonstrated difficulties with set shifting,


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visuospatial construction, sustained attention, repeating one sentence, serial subtractions, and with verbal
fluency. He did not recall any words (0/5) and was not aided by category cueing. He was aided by multiple choice
cueing for 4/5 words.

Intellectual: Mr. Brockman was administered subtests from a measure of general intellectual functioning (WAIS-
IV) and obtained scores ranging from low average to high average yielding a pro-rated Full Scale IQ estimate of
96, which is in the average range.

Attention/Concentration: Attention and mental tracking for overlearned verbal sequences was deficient for
speed and for accuracy. Immediate auditory attention span for digits was average with 6 digits forward, 4 digits
backward, and 5 digits when re-ordering them in ascending sequence. Speed of single word reading and speed of
color naming were deficient. Mental processing speed for manual code transcription was low average.
Performance on a simple visual-motor sequencing task requiring scanning and mental tracking was deficient with
0 errors. Written math computation revealed a 5.6 grade equivalent. It is noted that he was unable to perform
simple addition, multiplication and division arithmetic problems (e.g., 3X4=7, 14/3).

Executive: Mr. Brockman's ability to inhibit a dominant verbal response in the face of incongruent visual stimuli
was borderline impaired. His abstract verbal reasoning was average. Working memory to perform mental
arithmetic was average. Performance on a complex visual-motor sequencing task requiring scanning, tracking,
and set-shifting was impaired and the task was discontinued as he was unable to comprehend the task instructions
and he was unable to set shift independently. Performance on a novel task of problem-solving and hypothesis
testing fell in the low average range (11-16th percentile) with 1 correct category achieved by the end of the task.
He made numerous “Other” responses that did not match to any of the 3 possible correct categories. He lost set
one time and had to be reminded of the instructions after each card so that he would not match to the wrong set
of cards. His performance fluctuated during this task.

Memory: Recall of culturally-based general knowledge was high average. Immediate recall of verbally presented
contextual material was average (SS=8). Delayed recall of the stories was low average (SS=7). Retention of initially
learned material was 50.0%. Recognition memory was average (16/23). Incremental learning for a semantically-
categorized word list across 3 trials was deficient (1, 4, and 4 words per trial), and delayed recall was in the
deficient range with 25.0% retention which falls within the deficient range. On recognition memory assessment,
10/12 target words were correctly identified, 3 false positive errors were committed, with discrimination accuracy
in the borderline impaired range.

Immediate recall of basic geometric figures was borderline impaired (SS=4). Delayed recall of the designs was
deficient (SS=2). Retention of the initially learned material was 0.0%. Recognition memory was average (2/7).

Language: Lexical fluency was borderline impaired with between 5 to 8 words per trial. Semantic fluency was
low average with 14 exemplars generated. Confrontation naming of pictured objects was average (NAB Form 1;
29/31). He made an error of transitive limb praxis which was improved with imitation

Visual-Perceptual: His drawing of a complex geometric design scored in the low average range. He demonstrated
a mild tremor but it did not interfere with his drawing ability. He maintained the overall gestalt but he distorted
or omitted several of the internal details. His spatial reasoning ability to mentally arrange puzzle pieces was low
average. Visuoconceptual ability to draw a clock was within normal limits to command (CDT=10/10) and impaired



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when copying a model (CDT=8/10). He drew the clock face and began placing the numbers accurately but then
the numbers ended in the middle of the clock face. He placed the hands accurately to where he drew the numbers.

    Examples of visuospatial performances highlighting Mr. Brockman’s fluctuating cognitive functioning.

                                    Rey Complex Figure Test – Copy of a Design




                03/01/2019                                                                12/03/2019

                                                     Clock Drawing




                03/01/2019                                                                12/03/2019


Mood / Personality: On a self-report measure of anxiety, his responses fell in the minimal range (GAD-7=4/21).
On a face valid measure used to assess cognitive, emotional and physical symptoms of depression, Mr. Brockman
endorsed the following, suggestive of probable depression (GDS=19): presently unsatisfied with life, terminating
activities and/or lack of interest, lack of hope regarding the future, ruminating thoughts, feeling as though
something negative is going to occur, unhappiness, helplessness, preferring to stay home, worry about the future,
declines in memory, downhearted and blue, lack of excitement for life, difficulty beginning new projects, poor
energy, hopelessness, difficulties with concentration, difficulties with decision making, and general declines in
thinking skills.

Activities of Daily Living: His spouse served as the informant completing a questionnaire regarding the patient's
ability to complete basic and instrumental activities of daily living. Mr. Brockman reportedly has difficulties with
self-care ADLs (PSMS=7/30). It was noted that he is constipated and goes to the restroom every half hour; he
eats, dresses, grooms, and bathes very slowly. He requires assistance with ambulation. He requires assistance
with instrumental activities of daily living (IADLs=14/31) including telephone use, shopping, food preparation,


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transportation, and finances. His wife noted that he seldom uses his phone. He fluctuates in his ability to handle
money even with day-to-day expenses. She has to remind him to take his medications, and if she does not then
she notices that he has forgotten to take doses.

Neurobehavioral: The patient's spouse completed an inventory assessing for the presence of neurobehavioral
symptoms commonly associated with dementia, reportedly observing mild problems with disinhibition and motor
disturbance and moderate problems with agitation, depression, apathy, irritability, nighttime behaviors, and
changes in appetite (NPI-Q severity=12; distress=25) which produce an overall moderate to extreme level of
familial distress.

SUMMARY AND IMPRESSION
Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male who underwent an independent
neuropsychological evaluation as a component of a forensic evaluation. The factual matters stated in this report
are, as far as I know, true, and the opinions in the report are genuinely held by me and the report contains
reference to all matters I consider significant.

It is this examiner’s opinion based on the testing conducted and behavioral observations that Mr. Brockman was
putting forth full effort and was not exaggerating or embellishing the nature and extent of his cognitive
impairment. It is noted that neuropsychological tests were chosen to best assess Mr. Brockman’s cognitive
abilities. The testing environment was optimal and the following results are considered a valid estimate of his
current neuropsychological and emotional status.

Mr. Brockman currently operates in the average range of general intellectual functioning (WAIS-IV FSIQ=96),
which is a significant decline from his estimated premorbid intellectual functioning in the high average range
(TOPF=114, from March 2019 evaluation). His MoCA was 19/30 (total), 6/6 (orientation), and 0/5 (short-term
recall), which is moderately impaired. Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 14/30, and
his wife indicated a significant decline in his functional ability.

Self-report of depression was elevated (GDS=19), but he did not endorse elevated levels of anxiety (GAD-7=4).
The NPI-Q completed by his wife (severity=12; distress=25) indicated problems with disinhibition, motor
disturbance, agitation, depression, apathy, irritability, nighttime behaviors, and changes in appetite for an overall
moderate to extreme level of familial distress.

Mr. Brockman demonstrated borderline impaired to deficient performances on measures of oral and written
processing speed, executive functions (including working memory, problem solving, inhibition, set shifting, and
verbal fluency), learning and recall of a word list, learning and recall of visual material, and basic visuospatial
functioning. His intellectual functioning subtest scores remained within the broadly average range (low average
to high average). It is noted that his verbal memory was aided by context with average learning of a story, but he
only retained 50% of the material he originally learned after a brief delay (low average). His written arithmetic
performance was a 5.6 grade equivalent with difficulties noted in performing basic addition, multiplication and
division problems. His basic attention and language (naming and semantic fluency) performances were average.




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Comparison with prior results obtained on 03/01/2019 revealed the following pattern of interim changes:

Declines were found in the areas of:
   • Verbal fluency (low average to borderline impaired)
   • Graphomotor sequencing (borderline impaired to deficient)
   • Learning of a word list (borderline impaired to deficient)
   • Decreased functional abilities

Improvements were found in the areas of:
   • Sequencing of digits (deficient to average)
   • Learning and recall of contextual information (deficient to average and low average with only 50%
       retention)
   • Clock drawing (impairments remain)
   • Visuospatial construction of a complex figure

It is noted that Mr. Brockman’s cognition fluctuated significantly throughout the evaluation. He demonstrated
improvements on a few measures; however, during several tasks, he became more confused and demonstrated
a blank stare expression. These fluctuations were more apparent during this evaluation as compared to his
previous evaluation in March 2019. Mr. Brockman’s pattern of neuropsychological performance indicates a
dementia of mild to moderate severity characterized by deficits in the areas of verbal and nonverbal episodic
memory, processing speed, executive functioning, and visuospatial functioning with significant functional
declines. Mr. Brockman’s current cognitive pattern and his parkinsonism, taken together with his dementia at the
time of diagnosis of his movement disorder, cognitive fluctuations, and REM Behavior Disorder are consistent with
a diagnosis of Dementia with Lewy Bodies (DLB). Visual hallucinations are a hallmark of DLB; however, up to 30%
of patients with DLB do not demonstrate visual hallucinations particularly at the early stages of the disorder. Mr.
Brockman reported a previous visual illusion and a mild visual hallucination was present during neuropsychological
testing in March 2019, which further supports this diagnosis. His dementia falls under the diagnostic category of
Lewy Body Dementias.

Based on the current cognitive findings, his diagnosis of dementia, and the breadth and severity of his cognitive
impairments and fluctuations, it is my opinion that Mr. Brockman is unable to participate and aid in his own
defense. He is unable to recall and demonstrate a thorough understanding of the relevant elements of the issues
surrounding the case and manipulate this information in a logical manner that will allow him to make comparisons
and weigh his options.




____________________________________
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                  Filename not                                                          Board Certified Clinical Neuropsychologist
                  specified.                                                                                             Professor
                                                                                                    Department of Neurology




                     CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION
Patient Name:                Robert Brockman
Date of Birth (Age):                     (79 yr.)
Date(s) of Evaluation:       10/07/2020
Evaluation Location:         BCM Medical Center, McNair Campus, 9th Floor
Referred by:                 James Pool, MD/Kathy Keneally, Jones Day
Referral Question:           Independent Neuropsychological Examination

BACKGROUND AND REFERRAL INFORMATION
Mr. Brockman is a 79 year-old, right-hand dominant, Caucasian male with a three to four-year history of cognitive
and behavioral decline. The neuropsychological evaluation of his current cognitive, behavioral, and emotional
functioning was conducted by request by Kathy Keneally, Partner, Jones Day (New York) and Dr. James Pool. The
following information was obtained during an interview with Mr. Brockman and his son, Robert, his previous
clinical neuropsychological evaluation conducted on 03/01/2019 and his previous forensic evaluation conducted
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Declarations: A forensic evaluation differs from a clinical evaluation in that there is no traditional doctor-patient
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create a potential conflict between the psychologist’s role as an objective evaluator versus an advocate for the
patient. Consequently, it is important that a retained expert avoid the role of treatment provider. This standard
is mandate by the laws of the State of Texas (Texas Administrative code) as well as the Code of Ethics of the
American Psychological Association (2010), and it represents the official position of the National Academy of
Neuropsychology (Bush, 2005).

Dr. York was retained for a neuropsychological evaluation by Kathy Keneally of Jones Day. As explained above,
she is excluded from providing any direct treatment to Mr. Brockman. Consequently, Dr. York’s role was
necessarily restricted to that of a forensic consultant rather than a treating doctor in this context. Mr. Brockman
was informed of these conditions and consented to the evaluation and to his ability to understand these
limitations.

Opinions reached in this report are based on direct interview and results of my neuropsychological evaluation
including an interview with Mr. Brockman and his son, Robert, and a review of his provided medical records to
clarify the timeline of his medical procedures and hospitalizations. These opinions are based on current
neuropsychological assessment techniques and research.                   Opinions are based upon reasonable
neuropsychological probability and are subject to modification based on provision of additional information. The
data from this evaluation is contained in Dr. York’s confidential files.

Previous Neuropsychological Assessments: Mr. Brockman underwent a clinical neuropsychological evaluation
with Dr. York on 03/01/2019. In 2019, his general intellectual functioning (WAIS-IV FSIQ=87) fell within the low
average range, which was a decline from his estimated premorbid intellectual functioning in the above average
range. His MoCA was 19/30 (total), 6/6 (orientation), and 2/5 (short-term recall), which was significantly below
expectation. Mr. Brockman demonstrated borderline impaired to deficient performances on measures of


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                                                                                                                         Professor
                                                                                                    Department of Neurology



sustained attention/concentration, learning and recall of prose material and a word list, learning and recall of
visual material, semantic fluency, executive functions (set shifting, inhibition, working memory, and problem
solving), and visuoconstruction. Praxis was impaired for intransitive praxis tasks. These impaired performances
were found within the low average to average ranges on measures of basic attention, fund of information, verbal
and visual abstract reasoning, verbal fluency and naming, This pattern of neuropsychological performance
indicated a dementia of mild to moderate severity characterized by deficits in the areas of visuospatial functioning,
verbal and nonverbal episodic memory, and executive functioning, with mild functional declines. Self-report of
depression was within normal limits (GDS=8). Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 9/31.
The NPI-Q (severity=8; distress=11) indicated problems with agitation, anxiety, apathy, irritability, nighttime
behaviors, changes in appetite, and depression for an overall minimal level of familial distress, with the exception
of his depression and agitation which produced moderate familial distress. He demonstrated movements that
were consistent with a parkinsonism disorder. These abnormal movements taken together with his current
diagnosis of dementia, and REM Behavior Disorder, his pattern of cognitive impairments was reported as
consistent with Dementia with Lewy Bodies (DLB).

Mr. Brockman underwent a second neuropsychological evaluation on 12/03/2019. This evaluation revealed
average general intellectual functioning (WAIS-IV FSIQ=96), which is a significant decline from his estimated
premorbid intellectual functioning in the high average range (TOPF=114, from March 2019 evaluation). His MoCA
was 19/30, which is a moderately impaired performance. Mr. Brockman demonstrated borderline impaired to
deficient performances on measures of oral and written processing speed, executive functions (including working
memory, problem solving, inhibition, set shifting, and verbal fluency), learning and recall of a word list, learning
and recall of visual material, and basic visuospatial functioning. His written arithmetic performance was a 5.6
grade equivalent with difficulties noted in performing basic addition, multiplication and division problems. His
basic attention and language (naming and semantic fluency) performances were average. Self-care ADLs (PSMS)
were 7/30 and instrumental ADLs were 14/30, and his wife indicated a significant decline in his functional ability.

Comparison with prior results obtained on 03/01/2019 revealed declines on measures of verbal fluency (low
average to borderline impaired), graphomotor sequencing (borderline impaired to deficient), learning of a word
list (borderline impaired to deficient), and decreased functional abilities. He demonstrated improvements in the
areas of sequencing of digits (deficient to average), learning and recall of contextual information (deficient to
average and low average with only 50% retention), and visuospatial construction of a complex figure, suggesting
cognitive fluctuations. Confusion and a blank stare expression was noted during the evaluation.

Self-report of depression was elevated (GDS=19), but he did not endorse elevated levels of anxiety (GAD-7=4).
The NPI-Q completed by his wife (severity=12; distress=25) indicated problems with disinhibition, motor
disturbance, agitation, depression, apathy, irritability, nighttime behaviors, and changes in appetite for an overall
moderate to extreme level of familial distress.

Mr. Brockman’s pattern of neuropsychological performance indicated dementia of mild to moderate severity
characterized by deficits in the areas of verbal and nonverbal episodic memory, processing speed, executive
functioning, and visuospatial functioning with significant functional declines. His dementia taken together with
his parkinsonism, cognitive fluctuations, and REM Behavior Disorder remained consistent with a diagnosis of a
Lewy Body Dementia (Dementia with Lewy Body or Parkinson’s Disease Dementia). Based on his cognitive
findings, his diagnosis of dementia, and the breadth and severity of his cognitive impairments and fluctuations, it
was opined that Mr. Brockman was unable to participate and aid in his own defense, and he was unable to recall


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                                                                                                     Department of Neurology



and demonstrate a thorough understanding of the relevant elements of the issues surrounding the case and
manipulate this information in a logical manner that would allow him to make comparisons and weigh his options.

Current Concerns and General Condition: Mr. Brockman and his son, Robert, participated in the clinical interview.
Mr. Brockman reported that his right hand tremor has progressed. He reported overall muscle weakness in his
legs and an issue with his rotator cuff from tension and lifting weights. He noted that he discontinued taking his
testosterone on his own. He is taking levodopa but he was unsure of his medication regimen as he noted his wife
manages his medication box. He noted that he is continuing to use his balance board, but he tends to fall
backwards and catch himself. He has not had any actual falls in which he has injured himself.

Mr. Brockman and his son described that his cognition has declined since December 2019 when he was last
evaluated. He noted, in particular, his short-term memory and his working memory have declined and his
processing speed is slower. He noted declines in his decision making abilities. He repeats himself and asks the
same question again without insight. He forgot the passcode to unlock his phone, and he lost his phone. He
forgets names of familiar individuals. He is disoriented to month and day of the week, which his family has noted
when he is attempting to complete forms. He stopped driving 1 ½ years ago. He has increased word finding
difficulties and attempts to google to find the word for which he is searching.

Emotional Functioning: Mr. Brockman reported that his mood is “not good.” He described that business has been
difficult and his “morale is not what it used to be.” He is more apathetic. Due to COVID-19, his activities have
been limited. He continues to work from home. He noted that the company did not have to lay anyone off and
they have transitioned to working remotely. He is continuing to take Wellbutrin which has stabilized his mood.
He denied heightened general anxiety, personality or behavioral changes, suicidal ideation, and auditory
hallucinations. Sleep was described as adequate but he wakes up more often at 3am and is unable to get back to
sleep due to anxiety. He relies on a sleeping aid (trazadone) a couple of times per week. He stated that he was
yelling out in his sleep more often. He has decreased appetite with weight loss of 11lbs. He craves ice cream. He
denied well-formed visual hallucinations, but he described that he will see things that look like bugs on a shirt, the
floor, or a table and wait to see if it moves.

During a telephone call on 11/10/2020, Mr. Brockman’s son, Robbie, described a delusional incident that occurred
on 10/17/2020 and 10/18/2020 with his father. Robbie reported that he went to visit his father on Saturday night
for a couple of hours. He left the house around 7pm. His father woke up at 5am on Sunday and heard an external
door opening and closing and his son’s car driving away. Mr. Brockman went to his office and reported that his
computer was on and was unlocked. He stated that the computer was open to pages from the dark web and
suicidal information. Mr. Brockman took pictures of the screens, which were actually Yahoo answer pages not
related to the dark web or suicide. He was convinced that his son had returned to the house during the night and
had broken into his computer. Once he was told otherwise, he thought someone else had entered the house and
broken into his computer. The alarm had not been tampered with and there was no one on video entering or
exiting the residence during the evening. The family had the computer hard drive analyzed by a third party and
did not find any evidence of any tampering or that anyone had visited inappropriate websites. During this time,
Mr. Brockman became overly concerned with when he would get his computer back asking numerous times per
day.

Previous Cognitive Complaints: Mr. Brockman reported declines in his short-term memory over the past 3 to 4
years. Previously, he and his family reported that he repeats himself, loses possessions, loses his train of thought


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and is tangential. He forgets names of new individuals and of familiar locations. He also finds it more difficult to
complete tasks. His wife noted that he is clumsy getting out of the car and hits curbs while driving and parking
(He stopped driving 1 ½ year ago). He has increased difficulties with following directions. His wife noted spelling
changes and mild stuttering in his speech. His speech is slowed and he has slowed response latencies. His decision
making is also slowed, and he has difficulties multi-tasking. Mrs. Brockman described that her husband’s cognition
fluctuates on a daily basis from minute to minute. She described that he has “blank times” that he appears more
confused. His wife noted that he was having difficulties at work and she had to help him type all of his employee
performance reviews. She reported that he has increased initiation problems. He noted that it takes him longer
to process information at work. His wife described that he sits at work for many, but he does not accomplish his
tasks. His short-term memory has continued to decline, and he is repeating himself more often. He is unable to
recall details from his daily activities even later in the day. His procedural memory has also declined as he has
forgotten how to tie a tie or to use a remote control for their television. She noted that he does not recall the
code to unlock his telephone. He is unable to multi-task.

Medical History: Medical history is remarkable for hypothyroidism, atrial fibrillation, bladder cancer with
recurrence, hypercholesteremia, glaucoma (mild), erectile dysfunction, tremor, micrographia, back problems and
increased balance problems. He has plantar fasciitis, which reduces his exercise ability. He reported that he was
hospitalized for a prostate infection and pericarditis four years ago. He reported an episode of vision changes in
which he saw a bar of color on a spectrum that was moving. He noted he had this visual illusion for 20 minutes
and then it went away. He was told that he might have had a visual headache. He began taking levodopa in
February 2019. His wife noted a mild motor improvement when he first started on the medication, but when the
medication was increased, he had increasing clumsiness. Surgical history is notable for tonsillectomy, cataract
surgery, and excision of a melanoma. He reported that when he was in the sixth grade he was hit on the top of
the head with a hammer and may have suffered a concussion. He did not lose consciousness. Familial medical
history is unremarkable for movement disorders or dementia. Psychiatric history is notable for depression. Mr.
Brockman denied current use of tobacco or illicit drugs or a remote history of substance misuse/abuse. He quit
drinking alcohol two to three years ago secondary to his atrial fibrillation. He denied a history of seizures,
TIA/stroke, or migraines.

Dr. Joseph Jankovic Evaluation: Mr. Brockman was evaluated by Dr. Joseph Jankovic on March 13, 2019 for his
movement disorder. He was diagnosed with postural instability gait disorder subtype (PIGD) of parkinsonism. Dr.
Jankovic noted that because Mr. Brockman denied hallucinations and cognitive fluctuations that he does not meet
criteria for DLB; however, he acknowledged that he meets criteria for dementia. Mr. Brockman noted that he was
worse physically and mentally despite taking levodopa, with a “zombie-like effect” as described by his wife.

Dr. Melissa Yu Evaluation: Mr. Brockman was evaluated by Dr. Melissa Yu on March 20, 2019 for his memory loss.
Memory loss was dated to November 2017 in a medical chart note. Dr. Yu medical note stated that a DATSCAN
was performed showing significant loss of dopaminergic signal, and he was started on Sinemet and the Exelon
patch on 3/13/2019. Anosmia was reported for 10 years. Memory, word finding, and slowed processing speed
were reported by his wife and son. His son noted that his father’s cognitive ability fluctuates, with episodes of
“blankness” associated with less interaction alternating with improved cognition. His son also noted cognitive
fluctuations in his father’s decision making abilities with good and bad days. It was noted that his son has him
practice clock drawing to test his functioning. Dr. Yu’s differential diagnoses included Dementia with Lewy Bodies
or Parkinson’s Disease Dementia. It was noted that the time course and fluctuations in cognition were more
suggestive of Dementia with Lewy Bodies.


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Medications: Wellbutrin 100mg tid, trazodone 50mg at night, Synthyroid .75mg, Eliquis 2.5mg bid, aspirin,
carbidopa/levodopa25/100mg 2 tablets tid, stool softener, Exelon 2 patches. He noted that he also takes a
regimen of vitamins and supplements.

Social History: Mr. Brockman has been married for over 50 years, and they have one son, who is reported to have
a diagnosis of an Autism Spectrum Disorder. He currently lives with his spouse in their private residence. He
earned a BA in Business and attended graduate school for one year in Marketing at The University of Florida. He
reported that he was a good student. He is Chairman and CEO of Reynolds and Reynolds Company.

Behavioral Observations: Mr. Brockman was tested during a single session as an outpatient. He arrived on time
and was accompanied by his son who participated in the clinical interview. General appearance was neat and
clean. He exhibited slowed, unsteady gait and slowed motor behavior. He evidenced a mild tremor which was
notable on drawings but did not interfere with his performances. His mood was pleasant, and affect was
appropriate but somewhat flat. Eye movements were unremarkable. Vision (with corrective lenses) and hearing
were adequate for the testing session. His cognition fluctuated throughout the testing session. He appeared to
be confused at times even in the middle of tasks that he originally was completing accurately. Conversational
speech was coherent, but at times he appeared confused, particularly with following directions, and he was
tangential without insight. There was no evidence of paraphasias. He showed moderately decreased ability to
follow directions, and he often needed repetition of directions due to confusion. He lost place frequently during
set task. He exhibited cooperative test-taking behavior, and his attitude towards the examiner was appropriate
and friendly. He lacked insight into the severity of his cognitive impairments. The following results are thought
to be an accurate estimation of his current cognitive abilities. He passed embedded measures of performance
validity; therefore, the following results are thought to be an accurate estimation of his current cognitive abilities.

MEASURES ADMINISTERED
Montréal Cognitive Assessment (MoCA); Clock Drawing Test; Controlled Oral Word Association Test (COWAT
version: FAS); General Anxiety Disorder 7-item Scale; Geriatric Depression Scale; Hopkins Verbal Learning Test-
Revised (HVLT-R); Neuropsychological Assessment Battery (NAB subtest: Naming); Praxis Examination; Rey
Complex Figure Test-Meyers Version; Semantic Verbal Fluency Test (SVF version: Animals); Stroop Color-Word
Interference Test (Stroop subtests: Color, Color-Word, and Word); Trail Making Test (TMT subtest: Trails A); Verbal
Series Attention Test (VSAT); Wechsler Adult Intelligence Scale-IV (WAIS-IV subtests: Coding, Digit Span,
Information, Similarities, and Visual Puzzles); Wechsler Memory Scale-4th Edition (WMS-IV subtests: Logical
Memory II-Older Adult, Logical Memory I-Older Adult, Logical Memory Recognition-Older Adult, Visual
Reproduction I, Visual Reproduction II, and Visual Reproduction Recognition). Clinical Interview with patient and
his son. Mr. Brockman did not complete the Trail Making Test (TMT subtest: Trails B) measure due to
cognitive/behavioral problems.

NEUROPSYCHOLOGICAL FINDINGS
The following clinical descriptors identify performance with the range of Standard Scores (average=100, standard deviation=15) indicated in parentheses:
Very Superior (>130), Superior (120-129), High Average (110-119), Average, (90-109), Low Average (80-89), Borderline (70-79), and Deficient (<69). For
diagnostic purposes, a cognitive deficit is considered a performance score that is >1.5 standard deviations away from the mean in the direction of poor
performance compared to the reference group for that measure (i.e., Z-score) based on peers of similar age, gender, and education background as
appropriate. This criterion is equivalent to a Standard Score <78, T-score <35, or a Scaled Score of <5).


Mental Status: Evaluation of Mr. Brockman's general mental status on the MoCA revealed a score of 19/30, which
is below expectation. He was incompletely oriented (5/6, missing the date) and short-term recall was 0/5. He


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was aided by category cueing for one word and multiple choice cueing for 3 words. He demonstrated difficulties
with set shifting, drawing a cube, and placing the hands on a clock face. These three tasks took him 15 minutes
to complete, and he attempted the drawing of the cube twice unsuccessfully. He named 2/3 pictured animals.
He also had difficulties with serial subtractions and verbal fluency.

Intellectual: Mr. Brockman was administered subtests from a measure of general intellectual functioning (WAIS-
IV) and obtained scores ranging from extremely low to average yielding a pro-rated Full Scale IQ estimate of 80
which is in the low average range.

Attention / Concentration: Attention and mental tracking for overlearned verbal sequences was deficient for
speed and for accuracy. Immediate auditory attention span for digits was borderline with 5 digits forward, 3 digits
backward, and 3 digits when re-ordering them in ascending sequence. Speed of single word reading and speed of
color naming were deficient. Mental processing speed for manual code transcription was extremely low.
Performance on a simple visual-motor sequencing task requiring scanning and mental tracking was deficient with
1 error.

Executive: Mr. Brockman's ability to inhibit a dominant verbal response in the face of incongruent visual stimuli
was deficient. His abstract verbal reasoning was average. Performance on a complex visual-motor sequencing
task requiring scanning, tracking, and set-shifting was impaired and the task was discontinued.

Memory: Recall of culturally-based general knowledge was average. Immediate recall of verbally presented
contextual material was borderline impaired (SS=5). Delayed recall of the stories was borderline impaired (SS=4).
Retention of initially learned material was 33.3%. Recognition memory was high average (20/23). Incremental
learning for a semantically-categorized word list across 3 trials was deficient (3, 3, and 6 words per trial), and
delayed recall was in the deficient range with 0.0% retention which falls within the deficient range. On recognition
memory assessment, 9/12 target words were correctly identified, 5 false positive errors were committed, with
discrimination accuracy in the deficient range.

Immediate recall of basic geometric figures was borderline impaired (SS=5). Delayed recall of the designs was
deficient (SS=2). Retention of the initially learned material was 0.0%. Recognition memory was borderline
impaired (1/7).

Language: Lexical fluency was low average with between 8 to 12 words generated per trial. Semantic fluency
was deficient with 9 exemplars generated. Confrontation naming of pictured objects was high average (NAB Form
1; 30/31).

Visual-Perceptual: His drawing of a complex geometric design scored in the deficient range. Time required to
copy design was borderline impaired. After 5 minutes of attempting to copy this design, the gestalt was not
present, and he reported that he was unable to perform this task. His spatial reasoning ability to mentally arrange
puzzle pieces was low average. Visuoconceptual ability to draw a clock was impaired to command (CDT=6/10)
and impaired when copying a model (CDT=7/10). On command clock on the MoCA, he drew the hands to the 10
and the 11 for “10 after 11,” and he attempted to place the hands first prior to writing in the numbers. When later
asked to draw a clock, he drew a clock face and the numbers 12, 3 and 5, with 13 tic marks and two hands pointing
to the second and third tic mark for “10 after 11.” When asked to copy a clock, he omitted the number 10 and
wrote the numbers 12-7 in the right half of the clock. He did not maintain the hand size differentiation.


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Motor Functioning: Mr. Brockman is right-hand dominant. On formal examination, buccofacial, transitive, and
intransitive classes of praxis were intact.

Mood / Personality: On a self-report measure of anxiety, his responses fell in the mild range (GAD-7=5/21). On
a face valid measure used to assess cognitive, emotional and physical symptoms of depression, Mr. Brockman
endorsed the following, suggestive of probable depression (GDS=20): presently unsatisfied with life, terminating
activities and/or lack of interest, boredom, lack of hope regarding the future, generally poor spirit/mood, feeling
as though something negative is going to occur, unhappiness, helplessness, preferring to stay home, worry about
the future, declines in memory, downhearted and blue, worthlessness, lack of excitement for life, difficulty
beginning new projects, poor energy, difficulties with concentration, lack of enjoyment first thing in the morning,
and general declines in thinking skills.

SUMMARY AND IMPRESSION
Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male who underwent an independent
neuropsychological evaluation as a component of a forensic evaluation. The factual matters stated in this report
are, as far as I know, true, and the opinions in the report are genuinely held by me and the report contains
reference to all matters I consider significant.

It is this examiner’s opinion based on the testing conducted and behavioral observations that Mr. Brockman was
putting forth full effort and was not exaggerating or embellishing the nature and extent of his cognitive
impairment. It is noted that neuropsychological tests were chosen to best assess Mr. Brockman’s cognitive
abilities. The testing environment was optimal and the following results are considered a valid estimate of his
current neuropsychological and emotional status.

Mr. Brockman currently operates in the low average range of general intellectual functioning (WAIS-IV FSIQ=80),
which is a significant decline from his estimated premorbid intellectual functioning in the high average range
(TOPF=114, from March 2019 evaluation). His MoCA was 19/30 (total), 5/6 (orientation), and 0/5 (short-term
recall), which is moderately impaired. Self-report of depression was elevated (GDS=20), and anxiety was mildly
elevated (GAD-7=5).

Mr. Brockman demonstrated borderline impaired to deficient performances on measures of basic attention, oral
and written processing speed, executive functions (including working memory, problem solving, inhibition, and
set shifting), learning and recall of prose material and a word list, learning and recall of visual material, and basic
and complex visuospatial functioning. His intellectual functioning subtest scores declined from his last evaluation
ranging from the deficient to the average range. He continues to demonstrate average scores on fund of
information, naming, verbal fluency, and verbal and visual reasoning.

Comparison with prior results obtained on 12/03/2019 revealed the following pattern of interim changes:

Declines were found in the areas of:
   • Intellectual functioning (Full Scale Index: average to low average)
   • Semantic fluency (low average to deficient)
   • Inhibition (borderline impaired to deficient)
   • Graphomotor sequencing (further in deficient range)



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    •    Basic attention (forward and backward: average to low average; sequencing: average to bordelrine
         impaired)
    •    Learning of prose material (average to borderline impaired)
    •    Delayed recall of prose material (low average to borderline impaired)
    •    Visuospatial construction (Clock drawing and Rey-O)

No interim Improvements were found as compared to his performance on 12/03/2019.

Mr. Brockman’s current cognitive functioning was impaired across all domains assessed, with significant interim
declines noted from his evaluation in March 2019. He continued to demonstrate significant cognitive fluctuations
throughout the evaluation with confusion and impaired abilities to follow instructions. Mr. Brockman’s pattern of
neuropsychological performance continues to indicate a dementia of mild to moderate severity characterized by
deficits in the areas of verbal and nonverbal episodic memory, processing speed, executive functioning, and
visuospatial functioning with significant functional declines. Mr. Brockman denies experiencing well-formed visual
hallucinations; however, he has experienced visual illusions, brief visual hallucinations, and a recent delusional
episode. His current cognitive pattern and his parkinsonism, taken together with his dementia at the time of
diagnosis of his movement disorder, cognitive fluctuations, and REM Behavior Disorder continue to suggest
Dementia with Lewy Bodies. His cognitive profile demonstrated interim cognitive declines across all domains
assessed.

Based on the current cognitive findings, his diagnosis of dementia, and the breadth and severity of his cognitive
impairments and fluctuations, it remains my opinion that Mr. Brockman is unable to participate and aid in his own
defense. Due to the neurodegenerative nature of this disease and the lack of effective treatments, his prognosis
is for continued cognitive decline. He is unable to recall and demonstrate a thorough understanding of the relevant
elements of the issues surrounding the case and manipulate this information in a logical manner that will allow
him to make comparisons and weigh his options.

It is this examiner’s opinion based on record review, behavioral observations, patient interview, and current and
previous neuropsychological assessments.




___________________________________________
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